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UNITED STATES DISTRICT COURT                                               DATE FILED: 
SOUTHERN DISTRICT OF NEW YORK
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 DAVID A. JOFFE,                                                :
                                                                :
                                              Plaintiff,        :
                                                                :   17-CV-3392 (VEC)
                            -against-                           :
                                                                : OPINION AND ORDER
 KING & SPALDING LLP,                                           :
                                                                :
                                              Defendant. :
 -------------------------------------------------------------- X

VALERIE CAPRONI, United States District Judge:

       Plaintiff David A. Joffe was formerly a litigation associate at the law firm King &

Spalding LLP (“King & Spalding”). Joffe contends that he was fired by King & Spalding for

reporting ethical concerns regarding King & Spalding’s representation of the Chinese

telecommunications firm ZTE Corporation (“ZTE”). Joffe brings two claims: a common-law

claim for breach of contract under Wieder v. Skala, 80 N.Y.2d 628 (1992), premised on his

alleged retaliatory discharge, and a claim for wrongful discharge under Section 510 of ERISA,

29 U.S.C. § 1140, related to the timing of his discharge relative to the vesting of the firm’s

contribution to his 401k account. King & Spalding has moved for summary judgment on both

claims arguing that Joffe was terminated for legitimate, performance-related reasons.

       For the reasons that follow, King & Spalding’s motion for summary judgment is

DENIED.

                                          DISCUSSION

   1. Background

       Joffe joined King & Spalding in January 2012. See Def.’s Rule 56.1 Stmt. of Material

Facts (“Def.’s Rule 56.1 Stmt.”) (Dkt. 61) ¶ 84. By 2014, Joffe was a sixth year associate and
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was eligible for promotion to “senior associate,” the penultimate stop on King & Spalding’s

partner track. In July 2014, King & Spalding was hired to defend ZTE against allegations it had

improperly shared confidential information that was subject to a non-disclosure agreement

between ZTE and Vringo, Inc. (“Vringo”). See Def.’s Rule 56.1 Stmt. ¶¶ 1-2, 5. Joffe was

staffed on the ZTE case and worked with two King & Spalding partners, Robert Perry and Paul

A. Straus. See Def.’s Rule 56.1 Stmt. ¶¶ 3-4.

        At a hearing before Judge Lewis Kaplan on July 7, 2014, Straus categorically denied the

allegations against ZTE and stated on the record that ZTE had shared the confidential

information at issue with a Chinese court and no one else. See Def.’s Rule 56.1 Stmt. ¶ 7; see

also Decl. of Joseph Baumgarten (“Baumgarten Decl.”) (Dkt. 52) Ex. JJJ (June 7, 2014 Hr’g Tr.)

at 15:6-10. King & Spalding mounted a counteroffensive in support of which it filed a

declaration from Zhou Wang, a ZTE employee, stating that Vringo had shared the confidential

information at issue with the European Commission without ZTE’s permission. See Def.’s Rule

56.1 Stmt. ¶ 9; see also Baumgarten Decl. (Dkt. 52) Ex. O (“Zhou Decl.”) ¶ 14.1 Two weeks

later, at a hearing on July 24, 2014, King & Spalding had to acknowledge that it had no factual

basis for its counteroffensive because no one at ZTE, including Mr. Zhou, knew whether Vringo

had in fact disclosed the confidential information to the European Commission. See Def.’s Rule

56.1 Stmt. ¶ 12; see also Baumgarten Decl. Ex. LLL (July 24, 2014 Hr’g Tr.) at 37:7-38:24.

Judge Kaplan described Zhou’s statement as “unfortunate and perhaps more culpable and

certainly [a] material misrepresentation.” Pl.’s Rule 56.1 Stmt. ¶ 245. And to Straus he said:

        You folks leapt to a conclusion, I don’t know exactly who personally, we may get there.
        And then either Mr. Zhou on his own hook, which I doubt but it’s possible, decided to
        swear that the conclusion that he or somebody else had jumped to was the fact without
        actually knowing at all or somebody drafted an affidavit for him to sign, a declaration

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        Wang also echoed Straus’s statement that ZTE had not shared Vringo’s confidential information with
anyone other than the Chinese court. See Zhou Decl. ¶ 11. That statement was false.

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         based on the same assumption and got this man to declare under penalties of perjury that
         it was a fact, and nobody knew what the fact was, and everybody acted in, at least,
         reckless disregard of the truth of what was sworn to in this declaration submitted to this
         Court and made a centerpiece of your opposition to this motion.

July 24, 2014 Hr’g Tr. at 38:6-18.

         Things did not improve for King & Spalding and ZTE. Vringo amended its complaint to

allege that, far from disclosing the information to a Chinese court and no one else, ZTE had

shared the confidential information with a Chinese regulatory agency, the NDRC, which had

begun an investigation of Vringo. See Pl.’s Rule 56.1 Stmt. ¶¶ 247, 249-250, 269. On March

23, 2015, Vringo sought discovery from ZTE to substantiate Straus’ representation to the Court

that ZTE had not shared the confidential information with anyone other than a Chinese court and

that ZTE had not shared the confidential information with anyone since July 2014. See Def.’s

Rule 56.1 Stmt. ¶ 39. Over ZTE’s objections, Judge Kaplan ordered ZTE to respond to Vringo’s

discovery requests. See Def.’s Rule 56.1 Stmt. ¶¶ 40, 42. In response, on May 28, 2015, ZTE

admitted that it had shared Vringo’s confidential information with the NDRC and implicitly

conceded that Straus’s original statement to the Court had been false. See Def.’s Rule 56.1 Stmt.

¶ 43. Vringo sought (for the second time) to depose ZTE’s general counsel, which King &

Spalding opposed on a variety of grounds. Judge Kaplan ordered the deposition; months later, it

came to light that ZTE’s general counsel feared arrest by U.S. authorities and therefore would

refuse to appear in the United States to be deposed.2 See Pl.’s Rule 56.1 Stmt. ¶ 278; see also

Declaration of Paul Straus (“Straus Decl.”) Ex 31 ¶ 6. On August, 7, 2015, ZTE admitted that,



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         Judge Kaplan was again critical of ZTE and King & Spalding. He wrote: “ZTE obviously instructed its
lead U.S. counsel in this litigation (King & Spalding) to seek to avoid Mr. Guo being deposed at all . . . . King &
Spalding knew that Mr. Guo was most reluctant to come to the United States . . . . Whether it knew all of the
reasons for that reluctance or, indeed, that he would refuse to come if ordered are other matters. It is unnecessary
for purposes of this motion to determine exactly what King & Spalding knew or whether its actions were
culpable. . . .” Pl.’s Rule 56.1 Stmt. ¶ 284.


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subsequent to the July 7, 2014 hearing, it had disclosed Vringo’s confidential information to

Google —contradicting a declaration from a ZTE lawyer that had been prepared by King &

Spalding and filed on March 25, 2015.3 See Def.’s Rule 56.1 Stmt. ¶ 62; see also Pl.’s Rule 56.1

Stmt. ¶ 267, 269, 271.

         On July 24, 2015, Judge Kaplan entered an order to show cause why ZTE, Straus, and

Perry should not be sanctioned pursuant to Federal Rules of Civil Procedure 11 and 37. See

Def.’s Rule 56.1 Stmt. ¶ 51. Judge Kaplan wrote that it “preliminarily” appeared that ZTE’s

opposition had been “entirely frivolous and, in any case, interposed for purposes of delay and

harassment.” Def.’s Rule 56.1 Stmt. ¶ 51. At that point, Clifford Chance LLP stepped in to

represent ZTE and King & Spalding hired Philip Forlenza—a partner at Patterson Belknap Webb

& Tyler LLP—to respond to the order to show cause. See Pl.’s Rule 56.1 Stmt. ¶¶ 285-86. ZTE

and Vringo settled their differences in December 2015, and Judge Kaplan’s order to show cause

was never resolved. See Pl.’s Rule 56.1 Stmt. ¶ 287.

         According to Joffe, Judge Kaplan’s order to show cause and this series of misstatements

and corrections led him to believe that Straus and Perry may have violated the ethical rules

governing the practice of law in New York State. See Pl.’s Rule 56.1 Stmt. ¶¶ 288- 292; see also

Declaration of Andrew Moskowitz (“Moskowitz Decl.”) (Dkt. 55) Ex. 6 (Joffe Tr.) at 28:4-18

(stating, in reference to statements by King & Spalding that were later corrected, that “certainly I


3
         That declaration itself was the product of what Joffe characterized as an ethical “near miss.” Consistent
with Straus’ representation to Judge Kaplan in July 2014, King & Spalding initially prepared a declaration stating
that ZTE had not shared any confidential information, other than with a Chinese court. Pl.’s Rule 56.1 Stmt. ¶ 258.
The declaration as initially formulated was to be executed by a junior employee in ZTE’s legal department who had
assisted King & Spalding in collecting documents. Pl.’s Rule 56.1 Stmt. ¶ 257. Joffe was concerned that this
declaration would be false and that the proposed deponent lacked personal knowledge whether ZTE had provided
information to the NDRC. Pl.’s Rule 56.1 Stmt. ¶¶ 259-60. Joffe’s concerns were well-founded, as Vringo’s
counsel had previously informed King & Spalding that the NDRC was investigating Vringo based on a complaint
from an unspecified source. Pl.’s Rule 56.1 Stmt. ¶¶ 248-50. Joffe told Straus that “if you go through with this [the
proposed declaration], I will personally report you to the Bar.” Pl.’s Rule 56.1 Stmt. ¶ 262. Ultimately, King &
Spalding prepared a declaration on behalf of a more senior ZTE employee stating that ZTE had not disclosed
confidential information to the NDRC since July 7, 2014. Pl.’s Rule 56.1 Stmt. ¶ 267.

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think that reflected [ethical] violations . . . . [B]y the point of the sanctions order, it was clear

that enough things turned out not to be true that there was a problem.”). In particular, Joffe was

concerned that King & Spalding may have engaged in conduct that involved “dishonesty, fraud,

deceit or misrepresentation,” N.Y. R. of Prof’l Conduct 8.4(c), or, that, cumulatively, these

errors, even if not intentional falsehoods, were “prejudicial to the administration of justice,” N.Y.

R. of Prof’l Conduct 8.4(d). Joffe testified at his deposition that he did not believe Straus or

Perry had engaged in intentional misconduct or lied to Judge Kaplan, but he believed they may

not have adequately scrutinized information provided by ZTE, even after it became clear that

ZTE had repeatedly provided false information. See Joffe Tr. at 112:4-12; see also Joffe Tr. at

110:12-111:21 (recounting his concern that Perry was too quick to believe ZTE’s

representations, even after some statements were revealed to be false), 182:7-18 (“the actual

misrepresentations and the cumulative effect of the misrepresentations . . . it seemed to me, and

in particular from the Judge’s comments, prejudice[sic] the administration of justice”); but see

Moskowitz Decl. ex. 12 (Perry Tr.) at 40:5-15 (denying Joffe ever expressed these concerns to

him). Joffe considered their reliance on ZTE, without sufficient verification, to be “poor

judgment” and reflective of a “desire not to ascertain or take reasonable steps to [e]nsure that the

record hasn’t been obscured.” Pl.’s Rule 56.1 Stmt. ¶¶ 292-93.

        Whether Joffe made any contemporaneous report of his concerns to more senior attorneys

at King & Spalding is unclear. According to Joffe, he felt that Straus’s and Perry’s conduct in

the ZTE matter “should potentially be reported,” Joffe Tr. at 194:6-8, so that “someone . . .

who’s more experienced and who’s not involved” could look at it, Joffe Tr. at 186:13-18. The

parties agree that Joffe discussed the ZTE matter with King & Spalding’s outside counsel and

King & Spalding’s general counsel, R. Robert Thornton. Joffe answered their questions about

the case, and described the “history of the case,” and “the background of the various statements

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and orders by Judge Kaplan.” Pl.’s Rule 56.1 Stmt. ¶ 298. The parties also agree that

“professional liability” and “potential malpractice liability” were at issue in these conversations.

See Pl.’s Rule 56.1 Stmt. ¶¶ 299-300. But the specifics of the conversations among Thornton,

Joffe, and Forlenza are privileged, and it is unclear whether they discussed these issues

specifically as an ethical problem. See Joffe Tr. at 36:4-37:8. According to Joffe, they did not

discuss Rule 8.4 by “caption” but did discuss the “substance” of the Rule. Joffe Tr. at 37:5-8.

        Joffe contends that King & Spalding began retaliating against him for his expression of

ethical reservations almost immediately after the ZTE case settled. In December 2015, Joffe was

removed from the partnership track, and his pay was temporarily frozen. See Pl.’s Rule 56.1

Stmt. ¶ 313. In April 2016, Joffe was awarded no bonus for 2015. See Pl.s’ Rule 56.1 Stmt. ¶

325. Joffe was concerned that he was being penalized for his involvement in the ZTE matter and

sought to raise the issue with David Tetrick, a partner in the Business Litigation Department who

was in charge of the Business Litigation Associates Committee. See Pl.’s Rule 56.1 Stmt. ¶ 90,

331.

        Joffe contends that his email to Tetrick constitutes another instance in which he

attempted to report unethical conduct to more senior attorneys at King & Spalding. But the

record is open to interpretation. In relevant part, Joffe wrote:

        To be clear, I do not believe that Bob [Straus] or Paul [Perry] intentionally misled the
        Court, nor that they engaged in any other culpable conduct. However, I do believe the
        Sanctions Order was an entirely understandable, and entirely foreseeable, result of
        several instances of poor judgment by the partners, in the face of ever more glaring red
        flags, that occurred over the prior year in which the matter had been pending. While I
        had raised my concerns with the partners throughout that period (which, I believe, helped
        prevent several other near-misses), as the associate on the matter, the ultimate decision-
        making was, largely, outside my personal control.

Pl.’s Rule 56.1 Stmt. ¶ 331; Baumgarten Decl. Ex. X (the “July 25, 2016 Email”) at

K&S_0000572. According to Joffe, he chose not to characterize King & Spalding’s conduct in


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the ZTE case as a reportable ethical violation because he “want[ed] to tread gingerly and [didn’t]

want to say something that sounds like an accusation directly in an e-mail.” Pl.’s Rule 56.1

Stmt. ¶ 333; Joffe Tr. at 219:12-220:4. On the other hand, Joffe also prefaced his email as

providing “relevant circumstances” to the firm’s decision relative to his 2015 compensation, July

25, 2016 Email at K&S_0000511, suggesting that his intent was to complain about being

blamed, unfairly, for the outcome in the ZTE case, rather than to report unethical conduct.4

Tetrick testified that although he did not understand the July 25, 2016 Email to raise an ethical

concern, he viewed it as “making serious allegations about two of our partners” and therefore

forwarded it to the head of human resources at King & Spalding. Moskowitz Decl. Ex. 7

(Tetrick Tr.) at 85:4-7, 94:16-95:2; see also Pl.’s Rule 56.1 Stmt. ¶ 340-341. The head of human

resources testified that he read the email to raise a “legal issue” for the firm’s general counsel.

See Pl.’s Rule 56.1 Stmt. ¶ 342; Moskowitz Decl. Ex. 9 (Jackson Tr.) at 25:14-22, 34:17-20.5

         Whether the July 25, 2016 Email was an attempt to report ethical violations or simply to

complain about perceived unfair treatment, it was poorly received by Tetrick. A week later, on

August 3, 2016, Tetrick requested a report on Joffe’s billable hours. See Pl.’s Rule 56.1 Stmt. ¶

344. In September 2016, Tetrick decided to fire Joffe. He consulted with the firm’s employment

lawyer, Michael W. Johnston, and Thornton, the general counsel. The content of those



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        Thornton testified that he interpreted the email to be about compensation, not about ethics. Thornton Tr.
81:20-24, 84:16-85:4.
5
         King & Spalding’s internal policies appear to require ethical issues to be raised orally, and never in writing.
Pl.’s Rule 56.1 Stmt. ¶ 227. King & Spalding’s insurance policy provides that reports of actual or threatened claims
should not be discussed with other firm personnel” and “no substantive emails, memoranda, notes, or other written
reports should be generated.” Moskowitz Decl. Ex. 14 at K&S_0003544. Thornton testified that he believed this
policy would apply to a report of unethical conduct. See Moskowitz Decl. Ex. 10 (Thornton Tr.) at 33:12-34:2.
Notwithstanding the insurance carrier’s preference, a policy that reports of professional misconduct should not be
put in writing is curious (attorneys in the firm might view such a policy as being designed to give the firm plausible
deniability regarding reported ethical concerns). Joffe does not contend he was deterred from reporting unethical
behavior by this policy, however, and there is no evidence that he was even aware of it.


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communications is unknown because they are privileged and there has been no waiver. See Pl.’s

Rule 56.1 Stmt. ¶ 348. Tetrick also discussed firing Joffe with several partners in New York,

Pl.’s Rule 56.1 Stmt. ¶ 350, and forwarded the July 25, 2016 Email to other members of the King

& Spalding Associates Evaluation Committee. Tetrick Tr. at 97:5-21.

       Before Joffe was fired but after Tetrick had made the decision that he would be fired,

Joffe received his 2015 annual performance review from Tetrick and another partner. See Pl.’s

Rule 56.1 Stmt. ¶ 358. According to Joffe, Tetrick told him during the review that he should not

share the “red flags” identified in the July 25, 2016 Email with others at the firm. Pl.’s Rule 56.1

Stmt. ¶ 365. In contrast, Tetrick and the other partner do not remember discussing the so-called

“red flags” email during Joffe’s performance review, see Tetrick Tr. at 167:14-16; Moskowitz

Decl. Ex. 60 (Waszmer Tr.) at 57:3-25. On December 7, 2016, Joffe was fired in a meeting

attended by Joffe, Tetrick and another partner. See Pl.’s Rule 56.1 Stmt. ¶¶ 377, 402; see also

Joffe Tr. at 272:21-22. Joffe was also presented with a proposed severance agreement, which

offered him six months’ salary in exchange for a general release of claims against the firm. See

Pl.’s Rule 56.1 Stmt. ¶¶ 209, 400.

       King & Spalding contends Joffe was moved off the partnership track and then terminated

for a combination of administrative shortcomings, a lackluster review, and limited internal

demand for his time. See Joffe Tr. at 142:10-22; see also Def’s Rule 56.1 Stmt. ¶ 208. King &

Spalding requires each associate to complete a self-evaluation and a practice plan—a business

case for his or her future at the firm—but Joffe did not complete a practice plan for 2014, 2015,

or 2016, and submitted his 2015 self-evaluation late. Def.’s Rule 56.1 Stmt. ¶¶ 109, 119-20,

127. Joffe also received a quite negative review in 2015 from Meredith Moss, who is a partner

in King & Spalding’s Washington, DC office and a member of the Associates Evaluation

Committee. In 2015, Joffe had been tasked with preparing King & Spalding’s weekly Auditor

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Liability Bulletin for distribution to firm clients. Def.’s Rule 56.1 Stmt. ¶ 133. On two

occasions, Joffe turned in drafts of the bulletin late and on one of those occasions turned in work

product that included factual errors and was otherwise subpar in Moss’s view. See Def.’s Rule

56.1 Stmt. ¶¶ 137, 140, 156. In his 2015 review (prepared on Aug. 12, 2015), Moss

characterized Joffe as having done a “truly appalling job”; in a section on Joffe’s strengths, Moss

wrote “none that are apparent to me”; and she stated that she would “never staff him on another

matter.” Def.’s Rule 56.1 Stmt. ¶¶ 155-56; Baumgarten Decl. Ex. BB at KS_0000388. In

August 2015, Moss recommended that Joffe be removed from the partnership track on account

of his poor work on the bulletin and because he failed to submit a practice plan and self-

evaluation. Def.’s Rule 56.1 Stmt. ¶¶ 157, 159. King & Spalding also noted that Joffe had

regularly submitted his time-sheets late during 2015. Pl.’s Rule 56.1 Stmt. ¶ 314.

       According to talking points prepared by Tetrick in advance of Joffe’s termination, King

& Spalding had decided to fire Joffe for two reasons. Tetrick referenced Joffe’s failure to

prepare practice plans. See Moskowitz Decl. Ex. 17 at K&S_0002607. Tetrick also told Joffe

that his career at King & Spalding had “plateaued”—in the sense that he was no longer

developing new skills—and that there was an insufficient internal market for his work.

Moskowitz Decl. Ex. 17 at K&S_0002608. Tetrick described Joffe’s existing matters as coming

to a close and told him that the firm did “not foresee any realistic possibility of your [Joffe’s]

being staffed on new matters and returning to full utilization.” Moskowitz Decl. Ex. 17 at

K&S_0002608.

       Joffe contends that none of this adds up and that King & Spalding’s proffered rationale

for removing him from the partnership track and then terminating him is pretextual. Addressing

first the decision to remove him from the partnership track: Joffe acknowledges that Moss was

critical of his work product but points out that his time working for Moss was brief and involved

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a non-billable matter on which he was one of a rotating cast of associates. See Pl.’s Rule 56.1

Stmt. ¶¶ 133, 311. And Moss herself acknowledged that her experience working with Joffe was

limited. See Pl.’s Rule 56.1 Stmt. ¶¶ 159, 311. It is true that Joffe failed to submit practice plans

in 2014, 2015, and 2016 and submitted his self-evaluation late in 2015,6 but there is conflicting

evidence whether these documents were of such importance at King & Spalding that Joffe’s

failure to do so was grounds to demote and then fire him. At the time, King & Spalding did not

even keep track of which associates failed to submit self-evaluations or practice plans—Tetrick

had to task an employee with generating this data for purposes of Joffe’s review. See Pl.’s Rule

56.1 Stmt. ¶¶ 352-353. King & Spalding’s head of HR testified that he was unaware of any

attorney—other than Joffe—who had been disciplined for failing to submit a practice plan. See

Pl.’s Rule 56.1 Stmt. ¶ 355. Moreover, Joffe received a positive review for 2014, and was

promoted to senior associate, despite having failed to submit a practice plan for the year. During

his 2014 review, King & Spalding “flagged” the issue, but “certainly didn’t say it was required.”

Pl.’s Rule 56.1 Stmt. ¶ 354. Tetrick was aware of Joffe’s history of positive reviews and

expressed surprise at Moss’s recommendation that Joffe be removed from the partnership track.

See Pl.’s Rule 56.1 Stmt. ¶ 158 (Quoting Tetrick as saying “I’m a little surprised to see David

Joffe go off the cliff so quickly. I don’t think he got a bad review last year.”). Even accepting

that there was a legitimate basis to remove Joffe from the partnership track, King & Spalding’s

decision to award him no bonus for 2015 was unusually punitive. Joffe’s creditable hours in

2015 were 1,922, just below King & Spalding’s 2000-hour threshold for a market rate bonus.

Moskowitz Decl. Ex. 45 at K&S_0003033-34. Under similar circumstances, Tetrick’s



6
          Although Joffe did not submit a practice plan in 2016, he flagged issues relevant to the practice plan in his
2016 self-evaluation on the theory he could revisit the practice plan later. See Def.’s Rule 56.1 Stmt. ¶¶ 127-28;
Joffe Tr. 144:10-24, 222:24-223:24 (explaining that he felt he needed answers regarding the ZTE case before he
could produce a practice plan).

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experience (and Joffe’s impression) was that the firm would award an associate near the billable-

hours threshold a reduced bonus. See Tetrick Tr. 70:22-72:7; Joffe Tr. 127:10-21. Despite that

experience, Joffe was awarded no bonus.

         Joffe also questions King & Spalding’s performance-based rationale for his termination.

In 2016, Joffe was reviewed by five partners. Four out of five rated Joffe’s overall performance

as “meets expectations.” Baumgarten Decl. Ex. EE at K&S_0000398. Joffe’s qualitative

feedback was also largely positive. See, e.g., id. (Straus described him as “sensitive to the need

to provide excellent work to clients and also to work efficiently”), (another partner said “the

client liked David a lot and relied on him without hesitation”), id. at K&S_0000396 (a third

partner said “while I worked with David, he was very responsive and did very good work”).

Two of the five partners were more lukewarm and included comments like “he is smart but

sometimes does not see the forest from the trees” or “requir[es] more hand-holding and direction

than I would expect at this stage of his career.” Id. at K&S_0000397. The comments suggest an

associate who was perceived by all as smart but seen by some as lacking in self-confidence.

Contrary to Tetrick’s assertion that Joffe was essentially unstaffable, all five partners said they

would work with Joffe again; three on a matter of any size and two under the right

circumstances, i.e., a discovery issue or a “modest size[d]” matter.7 Id. at K&S_0000396.

Joffe’s billable hours and workflow in 2016 also do not support Tetrick’s stated rationale for

discharging him. Tetrick initially planned to terminate Joffe shortly after receiving the July 25,

2016 Email (in September or October 2016), but delayed at another partner’s request because

Joffe was “the only associate on an important client matter being handled” by that partner. Pl.’s



7
          Tetrick’s talking points for Joffe’s discharge are also factually inaccurate in part. Tetrick wrote that Joffe
had not submitted a self-evaluation in 2014 or 2015. In fact, Joffe submitted self-evaluations in both years (albeit
late), but he did not prepare practice plans. Pl.’s Rule 56.1 Stmt. ¶¶ 389-90.


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Rule 56.1 Stmt. ¶ 205.8 At the time of his termination, Joffe had billed 2,071 hours for 2016,

which was above King & Spalding’s minimum billable hours threshold for on-track associates to

receive a market rate bonus. Pl.’s Rule 56.1 Stmt. ¶ 398. Tetrick’s talking points reference three

of Joffe’s matters that were coming to an end, but none of those matters was near completion at

the time the firm decided to terminate Joffe in September 2016, creating a question of fact

whether this was an ex post rationale. See Rule 56.1 Stmt. ¶¶ 392-94. Finally, the decision to

terminate Joffe without notice was itself unusual. Tetrick could not recall ever firing an

associate without any period of notice. See Tetrick Tr. 19:4-21:25 (Tetrick was aware of only

two attorneys who ended their employment on the spot: one was a staff attorney and the other

resigned). Perry, who previously served as King & Spalding’s managing partner in New York,

testified that it was customary to provide associates with three months’ notice so they could find

a new job. Pl.’s Rule 56.1 Stmt. ¶ 381.

        Joffe was escorted from the building on December 7, 2016, and his employment was

formally terminated on December 14, 2016. Pl.’s Rule 56.1 Stmt. ¶ 399. Because Joffe was

terminated before January 1, 2017, on December 29, 2016, King & Spalding clawed back a

$20,000 contribution to Joffe’s 401k account, 3 days before it would otherwise have vested.

Pl.’s Rule 56.1 Stmt. ¶ 403.

        This lawsuit followed.




8
         King & Spalding’s Rule 56.1 Stmt. includes additional details regarding Joffe’s poor reaction to his 2016
review and subsequent observations from partners in the New York office that Joffe seemed “increasingly
withdrawn and even hostile.” Def.’s Rule 56.1 Stmt. ¶ 200; see also Def.’s Rule 56.1 Stmt. ¶¶ 196-203. King &
Spalding had already decided to terminate Joffe so these facts are of limited relevance to the reasons for Joffe’s
termination.

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    2. Analysis

         Summary judgment is appropriate when “the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). “Where the record

taken as a whole could not lead a rational trier of fact to find for the nonmoving party, there is no

genuine issue for trial.” Scott v. Harris, 550 U.S. 372, 380 (2007) (quoting Matsushita Elec.

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (internal quotation marks omitted)).

Courts “construe the facts in the light most favorable to the non-moving party and resolve all

ambiguities and draw all reasonable inferences against the movant.” Delaney v. Bank of Am.

Corp., 766 F.3d 163, 167 (2d Cir. 2014) (per curiam) (quoting Aulicino v. N.Y.C. Dep’t of

Homeless Servs., 580 F.3d 73, 79-80 (2d Cir. 2009) (alterations omitted)).

         a. Joffe’s Wieder claim

         The New York Court of Appeals has not formalized the elements of a claim under

Wieder, and there are few cases applying the doctrine to claims brought by a law firm associate.

Unsurprisingly, King & Spalding argues that the cause of action under Wieder is extremely

narrow and applies only to law firm associates who are faced with plainly unethical conduct and

therefore face a “Hobson’s choice” between complying with their own obligation to report

unethical conduct under New York Rule of Professional Conduct 8.3 and their job.9 Def.’s


9
         Rule 8.3(a) provides that “a lawyer who knows that another lawyer has committed a violation of the Rules
of Professional Conduct that raises a substantial question as to that lawyer’s honesty, trustworthiness or fitness as a
lawyer shall report such knowledge to a tribunal or other authority empowered to investigate or act upon such
violation.” N.Y. R. of Prof’l Conduct 8.3(a). The New York State bar association has interpreted Rule 8.3 to
require reporting if an attorney has a “clear belief” misconduct has occurred. See N.Y.S. Bar Assoc. Ethics Op. 854
(2011). Joffe contends that he was concerned that Straus, Perry, and King & Spalding may have committed a
violation of New York Rule of Professional Conduct 8.4. See Pl.’s Rule 56.1 Stmt. ¶ 288. Rule 8.4(c) prohibits
conduct involving “dishonesty, fraud, deceit or misrepresentation,” while Rule 8.4(d) prohibits “engag[ing] in
conduct that is prejudicial to the administration of justice.” N.Y. R. of Prof’l Conduct 8.4. The parties dispute
whether Rule 8.4(c) can be violated by reckless or negligent conduct. Compare Def.’s Mem. at 19; Pl.’s Opp’n
(Dkt. 60) at 17-18. The Court need not resolve this issue because the question under Rule 8.3(a) is whether Joffe
had a “clear belief” that a violation had occurred and not whether he was correct. Likewise, and for the reasons

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Mem. at 16-17. Under King & Spalding’s reading, to bring a Weider claim, the plaintiff must

show that (1) he had an actual reporting obligation pursuant to Rule 8.3—meaning that the

plaintiff must also establish that he had “actual knowledge” or a “clear belief” there had been an

underlying ethical violation; (2) he reported the ethical violation, and (3) he was retaliated

against. Def.’s Mem. at 18-20. As refined in King & Spalding’s reply memorandum, King &

Spalding contends Joffe must prove “[that] a reportable ethical violation occurred.” Def.’s Reply

Mem. (Dkt. 63) at 1. The corollary to this argument would be that an associate who suspects

unethical conduct, but is not certain, or believes he has an obligation to report unethical behavior

but is ultimately proven wrong, has no protection under Wieder. In King & Spalding’s view,

every Wieder claim implicitly requires the Court to conduct a mini-trial into whether, in fact, the

ethical rules were violated. See Def.’s Mem. at 19-22 (arguing that King & Spalding never

violated the ethical rules and that, therefore, Joffe could not have had knowledge of an actual

violation of the rules).

        The Court is not persuaded that Wieder requires a plaintiff to prove an actual underlying

ethical violation or that he was, in fact, under an obligation to report unethical conduct. Instead,

and borrowing from the framework applicable to analogous retaliation claims under federal law,

a plaintiff establishes a prima facie case under Wieder by demonstrating that he reported,

attempted to report, or threatened to report suspected unethical behavior and that he suffered an

adverse employment action under circumstances giving rise to an inference of retaliation. It is

then the defendant-employer’s burden to come forward with evidence that shows either that the

plaintiff’s attempted, threatened or actual report was not in good faith or that, regardless of the

employee’s good faith, any adverse action taken against the employee was not connected to the



explained below, the Court rejects King & Spalding’s argument that Wieder only protects lawyers who correctly
identify misconduct. See supra at 14-16.

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attempted, threatened, or actual report. If a defendant-employer can identify a bona fide, non-

retaliatory reason for the adverse action, it is the plaintiff’s burden to demonstrate that the

purported non-retaliatory reasons are pretextual.10

         Under this structure of the elements and burdens of proof, it is immaterial whether, with

the benefit of hindsight, the underlying suspected unethical conduct may not amount to a

violation of the disciplinary rules.11 This understanding of Wieder is consonant with Rule 8.3(a)

and with guidance from the state bar association. Rule 8.3(a) imposes a reporting obligation on

lawyers who have a “clear belief” there has been unethical conduct, even if they are not “certain”

that there has been a violation. See N.Y.S. Bar Assoc. Ethics Op. 854 (2011). The Rule focuses

on what the attorney knows (or believes) at the time, and not, as King & Spalding would have it,

on whether it appears to a court examining the facts cold two years later that the attorney

correctly identified actual unethical conduct. King & Spalding’s position is also inconsistent

with the New York State Bar Association’s ethical guidance, which permits (and even

encourages) reporting of ethical concerns when an attorney has a “suspicion” or “good faith

belief” that there has been attorney misconduct. See N.Y.S. Bar. Assoc. Ethics Op. 854 (“Even

if Lawyer A determines that he is not required to report Lawyer P, he is nevertheless permitted




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          Although the Court of Appeals has not laid out the precise elements of a Wieder claim, or the applicable
burdens of proof, the Court believes that the framework applied to federal retaliation claims under McDonnell
Douglas provides a helpful structure. See McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802-04 (1973); see
also Balko v. Ukrainian Nat. Fed. Credit Union, No. 13-CV-1333 (LAK)(AJP), 2014 WL 1377580, at *11
(S.D.N.Y. Mar. 28, 2014) (applying the McDonnell Douglas framework to a whistleblower claim under the federal
Fair Credit Union Act). As under McDonnell Douglas, it is ultimately the plaintiff’s burden to prove retaliation.
Although the parties did not brief this motion under the McDonnell Douglas structure, they agreed at oral argument
that it was an appropriate framework and their briefs address the substance of each step in the framework. See May
22, 2018 Hr’g Tr. (Dkt. 72) at 8:17-9:2, 23:7-17.
11
         The Court assumes that Wieder requires that an associate have a sincerely held, good faith belief that there
has been an ethical violation. An associate who files a frivolous report may themselves run afoul of the ethical
rules. See Wieder, 80 N.Y.2d at 637 (associate and law firm impliedly agree to practice in accordance with the
Rules of Professional Conduct).


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to report his reasonable suspicions of misconduct . . . .”); N.Y.S. Bar Assoc. Ethics Op. 635 (“As

a general proposition, a lawyer is always free to report evidence of what may constitute improper

conduct by another attorney . . . .”). In King & Spalding’s view, a law firm may punish attorneys

for reporting misconduct under these circumstances, despite the fact that the state bar association

encourages them to do so.12 Although neither side cites to it, the First Department has rejected

an almost identical argument. See Lichtman v. Estrin, 723 N.Y.S.2d 326, 327 (1st Dep’t 2001)

(rejecting defendants’ argument that “plaintiff’s employment could not have impeded or

discouraged his compliance with an ethical obligation because he had no ethical obligation based

on [a defendant’s] conduct as alleged”). Additionally, King & Spalding’s position is at odds

with the Court of Appeals’s rationale in Wieder. Wieder recognizes as an implied term of the

employment agreement between an attorney and law firm that both will practice in accordance

with New York’s disciplinary rules. See Wieder, 80 N.Y.2d at 637-38. There is an “implied

understanding . . . that in their common endeavor of providing legal services [the attorney] and

the firm [will] comply with the governing rules and standards and that the firm [will] not act in

any way to impede or discourage [the attorney’s] compliance.” Id. at 638. A law firm that

punishes an attorney for reporting conduct that the attorney mistakenly (but sincerely) believes to

be unethical, “impede[s] or discourage[s] . . . compliance” with the rules of professional conduct,

regardless of whether the attorney is proven correct. Adopting King & Spalding’s crabbed

reading, associates who suspect unethical conduct would be forced to choose between reporting

their concerns, and risking dismissal if it turns out they are wrong, and staying silent, and risking

themselves violating their personal reporting obligation if it turns out their concerns are correct.



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        This case does not require the Court to address what qualifies as an impermissible impediment to
compliance. Taking the facts in the light most favorable to the non-movant, Joffe was fired for reporting his
concerns.


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       The cases cited by King & Spalding do not support its narrow reading of Wieder, and

they are distinguishable in any case. In Rojas v. Debevoise & Plimpton, a Debevoise associate

was fired after she told the firm she had acted as an informant for the FBI, which was

investigating an individual the associate met through her work at the firm. 167 Misc. 2d 451,

456 (N.Y. Sup. Ct. N.Y. Cty. 1995). Distinguishing Wieder, the New York Supreme Court

explained that Debevoise had never asked the plaintiff to work as a confidential informant and

her work with the FBI had no connection to her practice at Debevoise. “Her actions were, in

fact, unrelated or extrinsic to the central purpose” of her employment at Debevoise. Id. at 455.

And the firm “did not insist that she act unethically, nor did they act in any way to impede or

discourage the ethical practice of law.” Id. at 456. In Curry v. Ahmuty, the New York Supreme

Court dismissed a former associate’s complaint under Wieder because the associate resigned and

accepted a severance agreement from the firm, and made only “conclusory assertions, bereft of

supporting factual averments that the resignation letter was the product of” improper pressure.

2010 N.Y. Slip Op. 30622(U), 2010 WL 1219504 (N.Y. Sup. Ct. Nassau Cty. Mar. 16, 2010).

       Applying the proper legal standard, and taking the facts in the light most favorable to

Joffe as the non-movant, the Court finds that a reasonable jury could find that Joffe had a good

faith belief that he had a duty to report his ethical concerns to King & Spalding’s partners and

that he attempted to do so. Joffe testified that he viewed the series of false statements made by

King & Spalding, or filed by King & Spalding on ZTE’s behalf, to constitute misrepresentations

within the meaning of Rule 8.4(c), which he was obligated to report under Rule 8.3(a). See Joffe

Tr. 186:13-188:24; see also id. at 194:4-9. Joffe further testified that he viewed the cumulative

effect of King & Spalding’s misstatements to be prejudicial to the administration of justice,

violating Rule 8.4(d). See Joffe Tr. at 182:7-18 (“the cumulative effect of the misrepresentations

and the inability to—proactively or quickly enough retroactively correct the misrepresentations,

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it seemed to me, and in particular from the Judge’s comments, prejudice[d] the administration of

justice”); see also id. at 190:22-192:2.

         A reasonable jury could find that Joffe reported his concerns to more senior attorneys at

King & Spalding, although this is a close question. Joffe testified that he reported or attempted

to report this conduct twice: first to Thornton and Forlenza, and then to Tetrick in his July 25,

2016 Email. The details of what Joffe told Thornton and Forlenza about the ZTE matter are

murky. But, according to Joffe, he told them “all of the facts that I believed I had a duty to

report,” Joffe. Tr. 32:5-12, answered their questions about the case, and provided them with

background on Judge Kaplan’s rulings, Joffe Tr. at 33:4-13. Joffe testified that he did this “so

that people internally [i.e., Thornton] could make the call about any reporting or about whether

there should be reporting to the disciplinary committee,” Joffe Tr. at 31:15-32:2, and because he

recognized that “more experienced lawyers, who maybe are better than I am at distinguishing

zealous advocacy from ethical violations, could come to a different conclusion.” Joffe Tr. 187:6-

19. In other words, Joffe appreciated that the situation was a close call, and presented the facts

to the firm’s general counsel and the firm’s outside attorney. To the extent Joffe was required

explicitly to tell the partners that he believed there was an ethical issue,13 it is not clear from the

record that he did not do so. Joffe testified that his conversations touched on Rule 8.3 (the

reporting requirement) and matters of professional liability.

         A reasonable jury might also view the July 25, 2016 Email as an attempt to report ethical

concerns to more senior attorneys at King & Spalding. According to Joffe, at the time he wrote

the July 25, 2016 Email he believed the firm had already penalized him for his involvement in




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         The Court does not believe that Weider requires an attorney to say, in haec verba, “this is an ethics issue,”
so long as the basis for the attorney’s concerns are provided. Neither side has cited to any case interpreting what
constitutes a report or attempted report under Rule 8.3.

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the ZTE matter—and perhaps for describing his ethical concerns to Thornton—by demoting him

from senior associate to associate, freezing his pay, and awarding him no bonus for 2015. He

wrote the July 25, 2016 Email in an effort to raise this unfair, potentially retaliatory treatment.

The fact that the email explicitly refers to conduct that Joffe deemed “reckless” in the face of

“ever increasing red flags” also suggests that he intended to alert the firm to his concerns—albeit

out of concern for his compensation rather than from a desire to report Straus and Perry to the

disciplinary committee. Testimony from King & Spalding’s head of human resources and the

partner responsible for terminating Joffe confirms this. Tetrick testified that he understood the

email to make “serious allegations about two of our partners.” Tetrick Tr. at 85:4-7, 94:16-95:2;

see also Pl.’s Rule 56.1 Stmt. ¶ 341. Chris Jackson, the head of HR testified that he viewed the

same allegations as raising a “legal issue” for Bob Thornton, the general counsel who

spearheaded the firm’s response to Judge Kaplan’s show-cause order. See Pl.’s Rule 56.1 Stmt.

¶ 342; Jackson Tr. at 25:14-22, 34:17-25.

         In short, the Court finds that the Plaintiff has established a prima facie case of breach of

contract under Weider. King & Spalding attempts to rebut Plaintiff’s prima facie case with

evidence that could suggest a lack of good faith on Joffe’s part. Specifically, King & Spalding

notes that Joffe participated in the firm’s defense in front of Judge Kaplan and points to his

testimony that he did not believe Straus or Perry intentionally misled the court.14 See Def.’s

Mem. at 6 (citing Joffe Tr. 38:17-39:2, 197:10-15), 18 (citing Joffe Tr. 25:17-26.10, 31:10-19,

38:12-16). Joffe’s involvement in defending King & Spalding is not inconsistent with his belief

that King & Spalding partners may have engaged in unethical conduct. To state the obvious,



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          King & Spalding also notes that Joffe did not report Straus or Perry to the disciplinary committee or to
Judge Kaplan. This fact is irrelevant. Associates such as Joffe are permitted to raise their ethical concerns
internally. See N.Y. R. of Prof’l Conduct 5.2(b); Geoffrey C. Hazard, Jr. et al., 2 The Law of Lawyering § 68-10
(4th ed.).

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Joffe could believe the partners’ conduct was ethically questionable and also cooperate in

advocating on behalf of King & Spalding relative to sanctions. See Joffe Tr. at 184:12-184:22

(Joffe did not believe Straus and Perry should be sanctioned). King & Spalding’s reliance on

Joffe’s repeated acknowledgment that he did not think Straus and Perry acted intentionally or

were unfit to be lawyers masks the nuance in Joffe’s testimony. See Def.’s Mem. at 19 (quoting

Joffe Tr. at 182:20-25). Joffe explained that he believed the partners did not act intentionally,

Joffe Tr. 182:17-25—the concern expressed by Judge Kaplan—but also believed that they had

engaged in reckless or negligent conduct that was potentially reportable, see Joffe Tr. at 186:11-

187:12; Pl.’s Rule 56.1 Stmt. ¶¶ 288-295. There is, at a minimum, a question of fact whether

Joffe was acting in good faith relative to his ethical concerns.

       King & Spalding also argues that it did not retaliate against Joffe but instead terminated

him for legitimate, non-retaliatory reasons related to his poor performance. The evidence shows

that Joffe was removed from the partnership track shortly after the ZTE case settled. At the time,

Joffe’s reviews were overwhelmingly positive—with the sole exception of Meredith Moss, who

acknowledged that her experience with Joffe was limited. Pl.’s Rule 56.1 ¶¶ 303-11. It may be

that Moss’s opprobrium was so damning that Joffe was demoted on the basis of her feedback

alone, but, if true, that is not King & Spalding’s contention. In explaining Joffe’s demotion,

Tetrick primarily cited administrative shortcomings, such as Joffe’s failure to turn in a practice

plan and to enter his time sheets on schedule. If Joffe had truly been demoted for failing to turn

in his time or failing to submit a practice plan, he would be the only associate at King &

Spalding to have been demoted for those reasons. See Pl.’s Rule 56.1 Stmt. ¶¶ 352-55. The fact

that Joffe was promoted to senior associate in 2015 despite having failed to submit a practice

plan that year casts additional doubt on this explanation. See Pl.’s Rule 56.1 Stmt. ¶¶ 109, 132;

Pl.’s Rule 56.1 Stmt. ¶¶ 352-53 (King & Spalding did not regularly track whether associates had

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submitted a practice plan and self-evaluation). The decision not to award Joffe a bonus for 2015

also lacks a non-retaliatory justification. See Pl.’s Rule 56.1 Stmt. ¶¶ 326-28 (in the past,

associates who did not meet the billable-hour threshold were awarded a half bonus). Tetrick’s

explanation, that the firm was uninterested in retaining Joffe, Tetrick Tr. at 75:20-76:4, simply

begs the question why Joffe had suddenly become a pariah.

       King & Spalding’s reasons for terminating Joffe also present a question of material fact.

According to Tetrick, Joffe was fired because the partners in New York were unwilling to work

with him. See Pl.’s Rule 56.1 Stmt. ¶¶ 391. This justification is belied by the facts that: each of

the partners who reviewed Joffe in 2016 said that he would staff Joffe again; four of five rated

his performance as “meets expectations;” and his hours in 2016 were above King & Spalding’s

bonus threshold. See Baumgarten Decl. Ex. EE at K&S_0000396-98; Pl.’s Rule 56.1 Stmt. ¶

398. The timing of Tetrick’s decision to fire Joffe also raises an inference of retaliation. Tetrick

first discussed Joffe’s employment with King & Spalding’s head of HR shortly after Joffe sent

the July 25, 2016, Email, and Tetrick requested access to Joffe’s hourly reports at about the same

time. Pl.’s Rule 56.1 Stmt. ¶¶ 343-46. Although Tetrick told Joffe he was fired because the firm

did not believe he could return to full utilization, at the time Tetrick made the decision to fire

Joffe (in September 2016), Joffe was staffed on at least three active matters and was on track to

bill at or near King & Spalding’s bonus threshold. Pl.’s Rule 56.1 Stmt. ¶¶ 392-98; see also Pl.’s

Rule 56.1 Stmt. ¶ 205 (Joffe’s termination was delayed because he was working on an important

matter for a partner).

       King & Spalding’s remaining arguments are unpersuasive. King & Spalding contends

that nobody involved in the ZTE matter “contributed to the reasons for Joffe’s demotion and

termination.” Def.’s Mem. at 24. Tetrick discussed the ZTE case “on more than one occasion”

with Thornton and King & Spalding’s employment lawyer in connection with his decision to fire

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Joffe, which suggests that there is a dispute of fact whether ZTE played a role in Tetrick’s

decision making.15 Pl.’s Rule 56.1 Stmt. ¶¶ 346-47; but see Thornton Tr. 134:24-135:3

(Thornton testified that he was not involved in the decision to terminate Joffe). It is inapposite in

any case. It would make little sense for Joffe to attempt to report unethical conduct to the same

partners he intended to report. Other partners at the firm, to whom Joffe reported his concerns,

were equally capable of retaliating.

         In sum, there are questions of fact regarding whether Joffe reported or attempted to report

ethical concerns and whether King & Spalding retaliated against him for doing so. The evidence

that Joffe reported unethical conduct is not overwhelming, but it is sufficient, taken in the light

most favorable to Joffe, to survive summary judgment. It may be that King & Spalding demoted

and fired Joffe for unrelated, legitimate reasons, but there is adequate evidence that the

justifications proffered by King & Spalding are pretextual for the case to go to a jury.

         b. Joffe’s ERISA claim

         King & Spalding’s failure to advance a legitimate, non-pretextual basis for Joffe’s

termination is also grounds to deny King & Spalding’s motion for summary judgment on Joffe’s

ERISA claim. ERISA Section 510 forbids the discharge of employees “for the purpose of

interfering with the attainment of any right to which such participant may become entitled to

under [an employee benefit plan].” 29 U.S.C. § 1140. The familiar McDonnell Douglas burden

shifting framework applies to Section 510 claims. See Dister v. Cont’l Grp., Inc., 859 F.2d 1108,

1111 (2d Cir. 2008). To prevail, Joffe must establish a prima facie case by showing that he was


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          These conversations are privileged so their content is unknown, but the fact that Thornton was consulted by
Tetrick, even though Thornton was not a member of the Associate Evaluation Committee, suggests that the ZTE
case and Joffe’s July 25, 2016 Email were relevant to Tetrick’s decision. Without more information, it is impossible
to know whether Tetrick consulted Thornton because he wanted to ensure that King & Spalding had acted
appropriately in the ZTE case, or as Joffe alleges, because King & Spalding intended to retaliate against him for
raising ethical concerns.


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qualified for his position, that he was protected by ERISA, and that he was terminated under

circumstances giving rise to an inference of discrimination. Quinby v. WestLB AG, No. 04-CV-

7406 (WHP), 2007 WL 1153994, at *15 (S.D.N.Y. April 19, 2007) (citing Dister, 859 F.2d at

1114-15). If Joffe can state a prima facie case, the burden shifts to King & Spalding to bring

forth a legitimate, non-discriminatory reason for his termination. Dister, 859 F.2d at 1111. If

King & Spalding is able to do so, it is then Joffe’s burden to show that this legitimate reason is

pretextual. Id.

       Joffe has established a prima facie case: King & Spalding does not dispute that Joffe was

qualified for his position and that he was protected by ERISA. The fact that Joffe was

terminated two weeks before a contribution to his 401k account was due to vest is sufficient to

support an inference of discrimination. See Quinby, 2007 WL 1153994, at *15 (inference of

discrimination established where employee was terminated two weeks before pension was to vest

and collecting cases); see also Gorman-Bakos v. Cornell Co-op Extension of Schenectady Cty.,

252 F.3d 545, 554 (2d Cir. 2001) (“A plaintiff can indirectly establish a causal connection to

support a discrimination or retaliation claim by ‘showing that the protected activity was closely

followed in time by the adverse [employment] action.’” (quoting Reed v. A.W. Lawrence & Co.,

95 F.3d 1170, 1178 (2d Cir. 1996))). For the reasons already stated, the Court finds that Joffe

has adequately rebutted King & Spalding’s purported legitimate explanation for his termination.

Although Joffe has not put forth any affirmative evidence tending to show King & Spalding

terminated him to evade a contribution to his 401k account, rebutting King & Spalding’s

explanation for his termination is sufficient to survive summary judgment. See Zann Kwan v.

Andalex Group LLC, 737 F.3d 834, 847 (2d Cir. 2013) (“evidence of [defendant’s] inconsistent

explanations for [plaintiff’s] termination and the very close temporal proximity between

[plaintiff’s] protected conduct and her termination are sufficient to create a triable issue of fact”);

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Raniola v. Bratton, 243 F.3d 610, 625 (2d Cir. 2001) (“Under some circumstances, retaliatory

intent may . . . be shown, in conjunction with the plaintiff’s prima facie case, by sufficient proof

to rebut the employer’s proffered reason for the termination.”).

       King & Spalding’s motion for summary judgment on Joffe’s ERISA claim is denied.

                                         CONCLUSION

       King & Spalding’s motion for summary judgment is DENIED. The parties are directed

to appear for a status conference with the Court at 10:00 a.m. on August 10, 2018, so that a trial

may be scheduled.

       The Clerk of the Court is respectfully directed to close the open motion at docket entry

34.

SO ORDERED.
                                                       _________________________________
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                                                                      ___________________
Date: June 8, 2018                                     VALERIE CAPRONI
      New York, New York                               United States District Judge




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